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                                       Exhibit 1

  Exhibit   Date         Description                                Objections
                         U.S. Copyright Office Certificate of
  PX-1      9/30/2016    Registration VA 2-056-245
                         Screen capture of
                         www.novafilmfest.com/plan-your-visit
  PX-2      11/17/2016   (11/17/2016)


                         Russell Brammer invoice to Bernstein
  PX-3      4/7/2016     management                                 FRE 408; MIL
  PX-4                   "Adams Morgan at Night" photograph
                         Russell Brammer Flickr URL displaying
  PX-5      11/19/2011   "Adams Morgan at Night."                   Authenticity
  PX-6      12/21/2011   Defendant's Answer (ECF 20)
                         Defendant's Memorandum in Support of its
  PX-7      10/24/2011   Motion to Dismiss (ECF 6)                  Incomplete




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